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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS


Randy Liebich                          )      Case No: 11 C 5624
                                       )
             v.                        )
                                       )      Judge: ROBERT W. GETTLEMAN
                                       )
Wexford Health Sources, Inc..          )
et al                                  )



                                           ORDER


This Court’s minute entry [220] dated 7/10/2015 dismissing this lawsuit is stricken.
On stipulation, defendants Johnnie Franklin, Charles Frederick, Marcus Hardy, Nicole
Jackson and Albert Kissell only, are dismissed without prejudice until such time as the
State of Ill. issues payment to plaintiff, then, the dismissal shall be converted to with
prejudice and without leave to reinstate.
Status hearing is set for 8/27/2015, at 9:00 a.m.




Date: July 13, 2015


                                                       ROBERT W. GETTLEMAN
